IN THE CIRCUIT COURT OF LAFAYETTE COUNTY, MISSOURI

DARRELL MCCLANAHAN and
APRIL MILLER-MCCLANAHAN,

Plaintiffs,

STATE OF MISSOURI and-

)
)
)
)
)
vs. ) case NO.; 16LF-cv00580
§ v
cHIEF MARK LAMPHIER, )

)

>

Defendants.
ANSWER oF DEFENDANT LAMPHIER

COMES NGW Defendant Lamphier (hereinafter “Answering Defendant”), by and through
his undersigned counsel of record, and for his Answer to Plaintiffs’ Complaint states and alleges
to the Couit as follows l

l. Answering Defendant is without sufficient information or knowledge to admit or
deny the allegations made or contained in paragraph l of the Complaint and, therefore, denies
same.

2. Answering Defendant admits he is an individual, but is without sufficient
information or knowledge to admit or deny the balance of the allegations made or contained in
paragraph 2 of the Complaint, and, therefore, denies same.

3. Answering Defendant admits Plaintiff Darrell McClanahan was previously
arrested, but is without sufficient information or knowledge to admit or deny the balance of the
allegations made or contained in paragraph 3 of the Complaint and, therefore, denies same.

4. Answering Defendant admits he is the police chief of Lexington, Missouri, but

‘ denies the balance of the allegations made or contained in paragraph 4 of the Complaint.

   

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5 . Answering Defendant denies the allegations made or contained in paragraph 5 of

the Complaint.

6. Answering Defendant denies the allegations made or contained in paragraph 6`of
the Complaintl
7. Answering Defendant denies the allegations made or contained in paragraph 7 of

the Complaint

8, Answering Defendant denies each and every other allegation, matter and averment
made or contained in paragraphs l through 7 of the Complaint not specifically and previously
admitted herein.. y

9. Answering Defendant denies all of the allegations made or contained in that portion
of the Complaint “COUNT I-NEGLIGENCE.”

10. Answering Defendant denies the allegations made or contained in that portion of
the Complaint entitled “relief for this matter” including, but not limited to, paragraphs l, 2, 3 and
4 under said heading

ll. Answering Defendant denies each and every other allegation, matter and averment
made or contained in Plaintiffs’ Complaint not specifically and previously admitted herein

12. Plaintiffs’ Complaint fails to state facts sufficient to constitute a cause of action
against Answering Defendant and fails to state a claim upon which relief may be granted against
him so that the same should be dismissed at Plaintiffs’ cost.

13. For other affirmative answer and defense, Answering Defendant alleges that any
and all actions or acts committed by him or on his behalf were discretionary in nature and taken in
good faith, and that he is protected from liability by the doctrines of qualified immunity, official

immunity, absolute immunity and/or judicial immunity.

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l4. For other affirmative answer and defense, Answering Defendant alleges he acted
with objective reasonableness under the circumstances then existing, and his conduct was justified
and/or privileged 7

4 15. For other affirmative answer and defense, Answering Defendant alleges that
Plaintiffs’ damages, if any, were proximately caused by their own negligence and/or acts and/or
the negligence and acts of others who are beyond the control of Answering Defendant, and whose
fault should be compared

16. v ’For other affirmative answer and defense, Answering Defendant states that to the
extent, if any, that Plaintiffs’ Complaint attempts to state any cause of action under Missouri state
law, Answering Defendant is protected from liability by Missouri's public duty doctrine and/or
Missouri's official immunity doctrine and/or sovereign immunity by virtue of R.S.Mo. § 5 3 7.600,
et seq.

17 . For other affirmative answer and defense, Answering Defendant states that to the
extent Plaintiffs’ Complaint attempts to seek or obtain injunctive or equitable relief, such relief is
not available on the grounds that Plaintiffs lack standing, fail to present a justiciable claim and/or
have failed to satisfy the "case or controversy" jurisdictional requirement of the United States
Constitution.

18. For other affirmative answer and defense, Answering Defendant states that
Plaintiffs are not entitled to any punitive damage award against him for any one or more of the
following reasons:

(a) The standards by which Answering Defendant’s conduct is to be determined as alleged

by Plaintiffs are vague and wholly arbitrary and, as such, deny due process in violation

of the Fifth and Fourteenth Amendments of the United States Constitution;

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(b) The standards for determining the amount and/or subsequent imposition of punitive
damages are vague, supply no notice to Answering Defendant of the potential
repercussions of his alleged conduct and are subject to the unbridled discretion of the
fact finder, thereby denying due process under the Fifth and Fourteenth Amendments
of the United States Constitution;

(c) Plaintiffs’ request for punitive damages is criminal in nature and the rights given
Answering Defendants in criminal proceedings under the Fifth, Sixth, Eighth, and
Fourteenth Amendments of the United States Constitution are applicable;

(d) Plaintiffs’ request for punitive damages constitutes a request for and/or imposition of
excessive fines in violation of the Eighth Amendment of the United States Constitution; l

(e) Plaintiffs’ request for punitive damages constitutes cruel and unusual punishment in
violation of the Eighth Amendment of the United States Constitution;

(f) Plaintiffs’ request for punitive damages constitutes a denial of equal protection of the
law in violation of the Fifth and Foulteenth Amendments of the United States
Constitution in that Answering Defendant's wealth or net worth may be considered by
a fact finder in determining the award of damages in a punitive damages award;

(g) Plaintiffs’ request for punitive damages cannot protect Answering Defendant against
multiple punishments for the same alleged wrong, thereby denying due process under
the Fifth and Fourteenth Amendments of the United States Constitution;

(h) An award of punitive damages Would violate Answering Defendant’s due process
under the United States Constitution as well as in violation of the United States

Supreme Court's decision in Pacz'fic Mutual Insw'ance Co. v. Haslz‘p;

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(i) To the extent Answering Defendant is being sued in his representative and/or official
capacity, Plaintiffs are not entitled to any punitive damage award against him, and _ ,
because punitive damages may not be awarded against a governmental entity in a claim
under 42 U.S.C. § 1983 pursuant to the United States Supreme Court's opinion in Cz'z‘y
of Newport v, Facz‘ C0ncerz‘s, Inc. ,' l

(j) To the extent Answering Defendant is being sued for tort claims under state law,
punitive damages against governmental entities are prohibited and/or barred by
R.S.Mo. § 537.610.

v l9. F or other affirmative answer and defense, Answering Defendant states, the
conduct, decisions, actions and/or inaction attributed to him by Plaintiffs in the Complaint involve
discretionary activity and/or conduct and, accordingly, Answering Defendant is shielded from
liability by operation of Missouri’s official immunity doctrine.

,20. Answering Defendant reserves the right to assert and plead additional affirmative
defenses when facts supporting said affirmative defenses become known and available to them.

WHEREFORE, based upon the above and foregoing, Answering Defendant respectfully

prays to be henceforth dismissed, awarded his costs and expenses herein incurred and expended,
together with such other and further relief as this Court deems just and appropriate
DEMAND FOR JURY TRIAL

Answering Defendant demands a trial by jury on all issues and claims

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Respectfully submitted,

FISHER, PATTERsoN, sAYLER & sMITH, LLP

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Az‘z‘0rneysf0r Defendant Lamphz`er

CERTIFICATE OF SERVICE

1 hereby certify that on July 21, 2016, the above and foregoing was sent, via U.S. Mail,
postage prepaid, to the following:

Darrell L. McClanahan, 111
2413 Franklin Avenue
Lexington, MO 64067

April Mary Miller-McClanahan
2413 Franklin Avenue
Lexington, MO 64067

Pro Se Plaz'ntijjfs

1 hereby certify that on July 21, 2016, 1 electronically filed the foregoing With the Clerk of
the Court and that an electronic notice of filing and a copy of the foregoing will automatically be
sent to the following: ‘

Scott lson

Assistant Prosecuting Attorney
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/s/ David S. Baker
DAVID S. BAKER

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